Case 1:21-cv-00160-MSM-PAS        Document 67      Filed 02/14/25    Page 1 of 1 PageID #:
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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF RHODE ISLAND

  Christopher Laccinole
  Plaintiff,
  v.                                                Case No.: 1:20−cv−00438−MSM−PAS

  Honoring American Law Enforcement PAC
  Defendant.

                                    ORDER OF COURT

          The plaintiff is hereby ordered to file a status report by May 9, 2025 advising the
  court of the current status of the above−referenced case.
          It is so ordered.

   February 14, 2025                            By the Court:
                                                /s/ Mary S. McElroy
                                                United States District Judge
